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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. CR20-222RAJ-001

10          v.                                           DETENTION ORDER

11 JASON DESIMAS,

12                                Defendant.

13          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

14 and based upon the factual findings and statement of reasons for detention hereafter set forth,

15 finds that no condition or combination of conditions which the defendant can meet will

16 reasonably assure the appearance of the defendant as required and the safety of any other person

17 and the community.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          (1)     Defendant has been charged by indictment with counts 1-3: Hate Crime; and

20 count 4: False Statement. The defendant is viewed as a risk of nonappearance based on his

21 history of failures to appear, history of noncompliance with under supervision, and history of

22 substance abuse. The defendant is viewed as a risk of danger based on the nature of the offense,

23 safety concerns for the victim, and his criminal history, including criminal history while under



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 1 supervision. Defendant has prior criminal convictions for felony offenses. The Court received

 2 information about defendant’s personal history, residence, family or community ties,

 3 employment history, financial status, health, and substance use. The defendant through his

 4 attorney made argument as to release.

 5          It is therefore ORDERED:

 6          (1)    Defendant shall be detained pending trial and committed to the custody of the

 7 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8 from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

10 counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12 Government, the person in charge of the correctional facility in which Defendant is confined

13 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14 connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

16 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

17 Officer.

18          DATED this 21st day of December, 2020.

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20                                                        PAULA L. MCCANDLIS
                                                          United States Magistrate Judge
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